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13

14                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
15                                  OAKLAND DIVISION
16
      SAN FRANCISCO AIDS FOUNDATION, et                    Case No. 4:25-cv-1824-JTS
17    al.;
                                                           DECLARATION OF LANCE TOMA
                                      Plaintiffs,          OF SAN FRANCISCO COMMUNITY
18
                                                           HEALTH CENTER, IN SUPPORT OF
19          v.                                             PLAINTIFF’S COMPLAINT AND
                                                           MOTION FOR PRELIMINARY
      DONALD J. TRUMP, in his official capacity as         INJUNCTION
20      President of the United States, et al.
21
                                      Defendants.
22

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25

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                 DECLARATION OF LANCE TOMA IN SUPPORT OF PLAINTIFFS’ COMPLAINT
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            I, Lance Toma, hereby state as follows:
 1

 2          1. I am the Chief Executive Officer at the Asian and Pacific Islander Wellness Center, Inc.

 3   d/b/a San Francisco Community Health Center (“SFCHC”), a nonprofit 501(c)(3) organization

 4   based in San Francisco, California. SFCHC is rooted in its mission to transform lives by advancing
 5
     health, wellness, and equality for communities most affected by health inequities. We believe that
 6
     the most vulnerable and marginalized members of our community deserve access to the highest-
 7
     quality whole-person health care; we work to foster resilience, strength, connection, and belonging
 8
     for our communities. Our organization has proudly served the San Francisco Bay Area for nearly
 9

10   40 years, with a dedicated focus on providing culturally competent, comprehensive health care

11   services to underserved populations, including LGBTQ individuals (with a concerted focus on
12   transgender individuals), people of color, individuals experiencing homelessness, and people
13
     living with or vulnerable to HIV.
14
            2. I submit this Declaration in support of Plaintiffs’ Complaint and Motion for a
15
     Preliminary Injunction, which seeks to prevent Defendant agencies and their leadership from
16

17   enforcing Executive Order No. 14168 “Defending Women From Gender Ideology Extremism and

18   Restoring Biological Truth to the Federal Government” (“Gender Order”), issued January 20, 2025;

19   Executive Order No. 14151 “Ending Radical and Wasteful DEI Programs and Preferencing”
20   (“DEI-1 Order”), issued January 20, 2025; and Executive Order No. 14173 “Ending Illegal
21
     Discrimination and Restoring Merit-Based Opportunity” (“DEI-2 Order”), issued January 21,
22
     2025 (collectively, the “Executive Orders”), and related agency directives that seek to enforce
23
     these Presidential actions.
24

25          3. SFCHC was founded in 1987 as a response to the 1980s AIDS crisis, specifically

26   addressing the impact of the HIV epidemic on Asian and Pacific Islander communities. In 2007,

27

28                                                    1
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     we took over operations of a city-wide transgender drop-in and resources center. In 2012, we
 1

 2   began overseeing all HIV efforts in the Tenderloin neighborhood of San Francisco for those

 3   experiencing homelessness and housing instability. In 2015 we became recognized as a federally

 4   qualified health center (“FQHC”) which allowed us to increase our clinical capacity to provide
 5
     respectful, compassionate, trauma-informed, free, and low-cost comprehensive primary medical,
 6
     behavioral, and dental health care, alongside substance use disorder treatment, mental health
 7
     counseling, gender affirming care, case management, and HIV prevention and outreach services.
 8
     We contribute to uplift the health, wellness, and dignity of our communities comprised of
 9

10   individuals living with HIV, immigrants, transgender community members, and homeless

11   individuals. We are also a local, statewide, and national capacity building provider, disseminating
12   our evidence-based models to support partner organizations throughout the country to effectively
13
     serve the highest-need and hardest-to-reach communities.
14
            4. Because we are committed to ensuring that our workforce is comprised of those with
15
     the lived experience of our clients, 48% of our 180 employees identify as trans or gender non-
16

17   conforming, 76% are people of color, and 28% identify as gay, lesbian, or bisexual. Of our health

18   center’s over 5000 patients, 25% are trans or gender non-conforming; 70% are people of color;

19   and 60% are homeless or marginally housed. The lifesaving health outcomes we achieve in
20   partnership with our clients and patients is a testament to the culturally tailored programming we
21
     have designed to meet the needs of those we serve.
22
            5. We currently receive several federal funding grants from components of the U.S.
23
     Department for Health and Human Services, including the U.S. Centers for Disease Control and
24

25   Prevention (CDC) and the Substance Abuse and Mental Health Services Administration

26   (SAMHSA). More detail of those awards are outlined below:

27

28                                                   2
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 1

 2    Information                        Description

 3    Title: Comprehensive High-         This grant funds the San Francisco Bay Transgender
      Impact HIV Prevention              Alliance for Health Resources (STAHR), a program to
 4    Programs for Young Men of          reduce and prevent new cases of HIV transmission among
      Color Who Have Sex With Men        young trans people of color (YTPC) and their partners in
 5    and Young Transgender Persons      San Francisco and Alameda Counties in accordance with
      of Color                           both the HIV National Strategic Plan and the CDC’s
 6                                       High-Impact, Status-Neutral HIV Prevention approach.
 7    Duration: April 1, 2022–March
      31–2027
 8
      Amount: $400,000 annually
 9    Title: Community-Based             This grant funds TransHOPE (Transgender Health
      Approaches to Reducing             Outreach, Promotion, and Engagement), an innovative,
10
      Sexually Transmitted Diseases      peer-based initiative to identify new approaches to
11                                       building community, supporting health and wellness, and
      Duration: September 30, 2023–      decreasing disparities in sexually transmitted diseases
12    September 29, 2026                 among young transgender women ages 18–34.

13    Amount: $305,500 annually
      Title: Minority AIDS Initiative:   This grant funds TransLink, an innovative, peer-focused
14
      Prevention Navigator Program       initiative designed to significantly reduce the risk of
15    for Racial/Ethnic Minorities       substance use, HIV infection, and STI and viral hepatitis
                                         infection among homeless and unstably housed adult
16    Duration: September 30, 2023–      transgender women living in San Francisco’s hard-hit
      September 29, 2028                 Tenderloin neighborhood.
17

18    Amount: $300,000 annually
      Title: Minority AIDS Initiative:   This grant funds Project REACT (Responsive Equitable
19    High Risk Populations              Action for Community Treatment), an innovative, peer-
                                         focused, community-driven initiative which takes a
20    Duration: September 30, 2023–      syndemic approach to addressing the interwoven crises of
      September 29, 2028                 substance use, HIV infection, and STI and viral hepatitis
21                                       infection among homeless and unstably housed persons of
22    Amount: $500,000 annually          color living in San Francisco’s Tenderloin neighborhood,
                                         with a primary focus on Black/African American and
23                                       Latin American substance users and on transgender
                                         substance users of color.
24

25
            6. We also receive a Health Resources and Services Administration (HRSA) multi-year
26

27   base grant of $1,432,805 annually because of our FQHC designation. This figure includes funding

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     from Community Health Center Programs (Section 330(e) of the Public Health Service Act),
 1

 2   Health Care for the Homeless (Special Populations -- Section 330(h) of the Public Health Service

 3   Act), and Ending the HIV Epidemic.

 4          7. We also receive HRSA Ryan White and Ending HIV Epidemic funding through San
 5
     Francisco Department of Public Health contracts totaling $2.2 million annually
 6
            8. Shortly after the Executive Orders were signed, we received multiple termination/stop
 7
     work orders. They are listed below:
 8
                   a.      On January 29, 2025, we received notices for both of our CDC awards,
 9

10          instructing us to “immediately terminate, to the maximum extent, all programs, personnel,

11          activities, or contracts promoting “diversity, equity, and inclusion” (DEI) at every level
12          and activity, regardless of your location or the citizenship of employees or contractors, that
13
            are supported with funds from this award.” A copy of this notice is attached as Exhibit A.
14
                   b.      On January 31, 2025, we received notices for both of our CDC awards,
15
            instructing us to “immediately terminate, to the maximum extent, all programs, personnel,
16

17          activities, or contracts promoting or inculcating gender ideology at every level and activity,

18          regardless of your location or the citizenship of employees or contractors, that are

19          supported with funds from this award.” A copy of this notice is attached as Exhibit B.
20                 c.      On February 1, 2025, we received a notice of termination for
21
            Comprehensive High-Impact HIV Prevention Programs for Young Men of Color Who
22
            Have Sex With Men and Young Transgender Persons of Color award effective January 31,
23
            2025. A redacted copy of the termination notice is attached as Exhibit C. Subsequently,
24

25          we received a notice that the termination was rescinded on February 12, 2025. A redacted

26          copy of the termination recission notice is attached as Exhibit D.

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                    d.      We received an email from HRSA on February 5, 2025, that read, “Dear
 1

 2          Recipient: HRSA rescinds the notice titled “Important Message for HRSA Award

 3          Recipients” that was sent to all HRSA grantees on January 31, 2025. If you have questions,

 4          please contact us at DGMOCommunications@hrsa.gov. Thank you.” To the best of my
 5
            knowledge, we did not receive the original notice and only received the notice about the
 6
            recission.
 7
            9. The terse and vaguely worded Executive Orders referencing DEI do not provide
 8
     adequate definitions of the terms “diversity”, “equity”, and “inclusion”. The Gender Order cruelly
 9

10   attempts to redefine gender and forbids the recognition of transgender people’s identities. Because

11   of this, coupled with our understanding of the purpose of our federal grants and other legal
12   obligations, we cannot understand how to comply with the Executive Orders, and we are left with
13
     the threat that the entirety of our health center’s programs and services could be at risk––and
14
     potentially come to an abrupt end. The DEI-1 Order and DEI-2 Order threaten the termination of
15
     our programs and services which are grounded in historical health equity and racial justice
16

17   underpinnings. The Executive Orders appear to dismiss the long-fought efforts of communities

18   like ours that have spent decades advocating alongside our federal partners to disaggregate data

19   and reveal the institutional inequities that have disproportionately impacted the delivery of care to
20   the most vulnerable members of society. These data revealed findings that prompted a response
21
     by previous federal administrations to fund racial and gender-specific programs and services and
22
     to focus on medically underserved communities. The Executive Orders’s language effectively
23
     erases these critical data and threatens the very existence of all our health center’s programs and
24

25   services.

26

27

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             10. The ultimate impact of the Executive Orders is that the very existence of transgender
 1

 2   and gender non-conforming individuals will be eliminated in the eyes of the federal government,

 3   and transgender and gender non-conforming individuals will be stripped of the lifesaving and

 4   culturally-tailored whole person healthcare resources that are critical their individual wellness and
 5
     self-realization.    Furthermore, transgender and gender non-conforming individuals will be
 6
     increasingly subject to an engulfing climate of fear, terror, and discrimination.
 7
             11. At our healthcare center, we have already seen a dramatic increase in depression,
 8
     anxiety, and suicidal ideology amongst our patients, clients, and staff members. Without the
 9

10   preventative care SFCHC provides to these vulnerable and stigmatized communities, negative

11   health outcomes will explode, emergency room visits will overburden our City’s safety net system,
12   and diseases such as HIV and viral hepatitis will rampantly and unnecessarily spread within these
13
     communities and beyond. We anticipate a rate of new HIV infections as we have not seen in many
14
     decades, which will take years and millions of dollars to bring back down amidst many lives lost.
15
     As the only primary care provider for homeless individuals in San Francisco, if our street medicine
16

17   services were to stop, ongoing care and lifesaving treatment will be halted, and health outcomes

18   will decline immediately.

19           12. Because of the Executive Orders, the following programs and services offered by
20   SFCHC are at risk:
21
                     a.      Our Primary Medical, Behavioral, and Dental Health Care Services
22
             program fill persistent gaps in the mainstream health care system, which has failed to meet
23
             the needs of many of our queer, transgender, unhoused, and HIV-positive neighbors,
24

25           communities of color, and otherwise historically marginalized people. Located in the

26           Tenderloin neighborhood, the epicenter of homelessness, substance use, mental illness, and

27

28                                                    6
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      HIV in San Francisco, SFCHC casts a wide net in welcoming the city’s most marginalized
 1

 2    individuals. Approximately 50% of the San Francisco’s unhoused population lives in the

 3    Tenderloin neighborhood, which also contains the city’s Transgender District, which has

 4    served as a haven for transgender people since the 1920s.
 5
             b.      Our Street Medicine Team is committed to eliminating barriers to high-
 6
      quality health services for the unhoused community on and around the streets of the
 7
      Tenderloin neighborhood; this team of talented and compassionate clinicians, case
 8
      managers, and health workers provide street-based primary and behavioral health care,
 9

10    urgent wound care and treatment for opioid addiction and connect individuals to additional

11    services they need to stay healthy. Our street medicine team is on the frontlines of the
12    opioid crisis in the Tenderloin neighborhood, which has seen more than 25% of the city’s
13
      overdose deaths in recent years.
14
             c.      Our Community Living Room program is a vibrant community hub open
15
      five days a week for the Tenderloin neighborhood, especially those experiencing the stress
16

17    of homelessness and housing instability. Guests are invited indoors to a place of belonging

18    to enjoy a warm meal, find community, and engage in the array of services we offer. This

19    space is primarily run by Community Ambassadors, who are hired and trained directly
20    from the community––many have experienced housing instability, struggled with
21
      substance use and mental illness, engaged in sex work, and come from immigrant
22
      communities.
23
             d.      Our Trans Thrive program is our five-day a week stand-alone drop-in and
24

25    resource center run for and by the trans community. It is a safe and welcoming space where

26    transgender and gender non-conforming individuals can access gender affirming resources,

27

28                                             7
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      behavioral health care, psychoeducational groups, social events and activities, and case
 1

 2    management. In the past six months, we have served 692 unique clients. Of these clients

 3    81% identity as transgender women, 17% as transgender men, 2% as gender non-

 4    conforming; 34% as Latin American, 25% as Black, 16% as Asian and Pacific Islander,
 5
      15% as White, and 10% as other.
 6
              e.      Our Taimon Booton Navigation Center is San Francisco's only emergency
 7
      shelter designed for trans and non-binary unhoused individuals and is lifesaving for this
 8
      very reason. Being unhoused in San Francisco is dangerous, especially for the transgender
 9

10    community, as general population shelters are generally not trained to be trans-competent

11    or to create a safe and welcoming environment for gender-diverse people. Today we are
12    at capacity with 64 beds and will be adding 10 more beds in the next few months. In the
13
      past year, we have had 150 guests, 30 have been moved to permanent supportive housing,
14
      and 10 are awaiting housing placements.
15
              f.      Our TransLink program is a beacon of empowerment and support for
16

17    homeless and unstably housed transgender women facing systemic challenges. This peer-

18    focused initiative is designed to significantly reduce the risk of substance use, HIV and

19    viral hepatitis infections, and other sexually transmitted infections.
20            g.      Our San Francisco Transgender Alliance for Health Resources program is
21
      San Francisco’s Health Access Point focused on meeting the comprehensive health and
22
      HIV needs of transgender women in San Francisco and Oakland. Led by a team of trans-
23
      identified staff members, it also provides comprehensive training and technical assistance
24

25    to reduce HIV, Hepatitis C, and other sexually transmitted infections, while improving

26    health and quality of life.

27

28                                              8
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              h.      Our What’s T program is a drop-in space for young transgender people of
 1

 2     color, providing empowerment through community building, education, collaboration,

 3     sexual health education, free health screenings, fun events, and targeted programming

 4     aimed at uplifting our clients.
 5
              i.      Our Project Empower Her program is a transformative national initiative
 6
       designed to empower transgender women and girls to first design and subsequently
 7
       implement a unique STI prevention and community building program. This program has
 8
       dual objectives towards sexual health and safety, and as well as community building and
 9

10     sisterhood.

11            j.      Our Black Health Center of Excellence program provides high quality,
12     multi-disciplinary, culturally competent health care to African Americans living with
13
       HIV/AIDS at the intersection of poverty, mental health needs, substance use, incarceration,
14
       and housing insecurity. This program strives to reduce harm, to improve health status and
15
       quality of life for clients, and to integrate multiple health professions into a team-based,
16

17     multi-disciplinary approach to care.

18            k.      Our Stop The Hate program is a groundbreaking initiative addressing the

19     alarming rise of anti-Asian and Pacific Islander (“API”) LGBTQ hate, violence, and crime
20     in our community. We believe in fostering a safe and inclusive environment where
21
       everyone can thrive without fear of discrimination or violence. This program combats anti-
22
       API LGBTQ hate with support groups, non-violence trainings, holistic health, mental
23
       health resources, medical and legal aid referrals, hate incidents reporting, and senior escort
24

25     services.

26

27

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                    l.      The Lotus Project is San Francisco’s Health Access Point for and by API
 1

 2          gay, bisexual, queer men and transgender women, aiming to reduce HIV and other

 3          communicable illnesses through community building, safe spaces, health services, and

 4          inclusive social events that foster health, wellness, and friendship.
 5
                    m.      The Tenderloin Center of Excellence program serves people living with
 6
            HIV who are or were affected by homelessness and for whom the traditional medical
 7
            system has failed by providing drop-in services and holistic programming with a focus on
 8
            engaging clients in HIV primary medical care. Our clients have the opportunity to connect
 9

10          with community, eat breakfast, watch TV, use the internet, make phone calls, participate

11          in art therapy, attend support groups focused on mental health and harm reduction, and
12          access case management and navigation.
13
                    n.      Our LBTQ Health Equity Initiative is a capacity building effort targeting
14
            providers in the Northern California region to enhance their ability to deliver culturally
15
            responsive health services for LGBTQ communities, addressing systemic bias and the lack
16

17          of tailored care.

18          13. Our work is deeply informed by public health data, which demonstrates that

19   communities of color, LGBTQ individuals, and people living with HIV experience
20   disproportionately poor health outcomes. These disparities are rooted in historical and structural
21
     discrimination, including racism, xenophobia, misogyny, homophobia, and transphobia. To
22
     address these inequities, SFCHC employs evidence-based, community-defined, culturally
23
     competent care models that acknowledge the unique needs and life experiences of our client
24

25   populations. Our programs are designed not only to treat illness but also to address the social

26   determinants of health that contribute to persistent disparities.

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            14. The transgender community, in particular, faces significant barriers to accessing health
 1

 2   care. Transgender individuals are more likely to experience health care discrimination, economic

 3   insecurity, life-threatening violence, and homelessness, all of which contribute to poorer health

 4   outcomes. At SFCHC, we have seen firsthand how affirming, gender-inclusive care dramatically
 5
     improves health outcomes for transgender clients, especially transgender women of color who are
 6
     at elevated risk for HIV. Our services include gender-affirming hormone therapy, mental health
 7
     support, HIV treatment and prevention, linkage to care, navigation and referrals to gender-
 8
     affirming surgery, case management, and primary medical care, all of which are provided in
 9

10   culturally sensitive environments that cultivate community and a sense of belonging.

11          15. The Executive Orders fundamentally undermine our ability to provide these critical
12   services. By prohibiting the acknowledgment of gender identities that differ from sex assigned at
13
     birth, the Gender Order forces us to effectively deny the existence of trans and gender-diverse
14
     people and thus abandon evidence-based community tailored practices that are essential to
15
     transgender health care. The inability to use clients' correct names and pronouns and treat them
16

17   with lifesaving, evidence-based care will erode trust, reduce engagement in care, and ultimately

18   lead to worse health outcomes. Under the Gender Order, clinicians who have taken the oath to

19   “first do no harm” and have been entrusted to care for their gender-diverse patients would be
20   compelled by the federal government to inflict harm and neglect on the most vulnerable patients
21
     they have promised to protect. For transgender clients living with HIV, this loss of trust can result
22
     in missed medical appointments, decreased medication adherence, and increased HIV transmission
23
     rates within the broader community.
24

25          16. Similarly, DEI-1 Order’s attack on DEI initiatives directly threatens our capacity to

26   train our staff in the cultural competencies necessary to serve our diverse client base. Our critical

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     DEI trainings, including of transgender-sensitivity trainings, equip healthcare providers with the
 1

 2   skills to address implicit bias, understand cultural health beliefs, and build rapport and trust

 3   required with clients from marginalized communities. Our providers gain comfort in treating

 4   racially and gender diverse patients, increased awareness of racial health disparities, improved
 5
     fluency in gender-affirming medical terminology, and heightened familiarity with navigating the
 6
     use of pronouns. These trainings are necessary to deliver sensitive, life-saving medical care with
 7
     competency. Without these trainings, providers may unintentionally perpetuate the same systemic
 8
     inequities our work seeks to dismantle and alienate patients. The loss of DEI-informed practices
 9

10   will create barriers to culturally competent care, particularly for communities of color who already

11   experience negative health outcomes due to systemic racism.
12          17. Furthermore, DEI-2 Order 's call to end so-called “preference” in public health
13
     programs jeopardizes our targeted interventions for high-risk populations. Public health principles
14
     clearly demonstrate the importance of prioritizing services for populations with elevated health
15
     risks. Our HIV prevention programs, for example, include targeted outreach and testing for
16

17   transgender women of color, who face disproportionately high HIV acquisition rates. Our API

18   HIV programs address cultural barriers and shame that have prevented access to HIV and mental

19   health resources. Our Black Health programming focuses in on the specific mistrust of our medical
20   and healthcare system to bridge access to providers who can build the necessary trust and rapport
21
     to combat stigma prevalent in communities of color. If we are forced to implement a “colorblind”
22
     or “gender-neutral” approach, we will lose the ability to respond effectively to epidemiological
23
     data that guide our community-defined, evidence-based interventions.
24

25          18. The Executive Orders’s impact is not theoretical––it is already being felt in our

26   community. Staff members have expressed confusion and fear about whether their clinical

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28                                                   12
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     practices, which have been grounded in decades of medical and public health research, may now
 1

 2   violate federal mandates. Most distressingly, some clients have reported increased anxiety about

 3   the continuity of their care, fearing that the federal government's actions signal a broader rollback

 4   of LGBTQ health protections.
 5
             19. At SFCHC, we know that existing health care providers often fail to meet the needs of
 6
     many of our queer, trans, unhoused, HIV+ neighbors, communities of color, and otherwise
 7
     historically marginalized people. As such, at SFCHC, we fight to close these gaps by providing
 8
     health services that are compassionate and humanizing, where all of our patients receive the
 9

10   highest quality of care, regardless of their identities, backgrounds, or experiences. Among the

11   health services we provide primary care, oral health, mental and behavioral health, HIV care, and
12   gender-affirming medical care. For our transgender patients, affirmation and recognition of their
13
     identities is important and integral to the provision of all of these services, not just those related to
14
     gender-affirming care, which is vital for the day-to-day survival for transgender clients, as their
15
     care enables them to physically, emotionally, and psychologically “show up” and be who they are
16

17   in our society which is increasing hostile to the transgender community.

18           20. In order for us to effectively treat patients we must be able to recognize the whole

19   person. Refusal to acknowledge a transgender patient’s identity may cause distrust between
20   provider and patient and lead to worsening health outcomes. Abruptly discontinuing or
21
     inconsistently any type of care, whether it relates to gender affirmation or HIV treatment, may
22
     cause catastrophic, life-threatening harms to patients. Stopping access to necessary care can have
23
     a negative impact on patients’ mental health and stress from restricted access to care will lead to
24

25   increased anxiety, depression and suicidal ideation. The ensuing chronic, elevated levels of stress

26   and resulting hopelessness in gender-diverse patients can then lead to countless additional adverse

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     health outcomes ranging from worsening hypertension and management of chronic diseases like
 1

 2   HIV, diabetes, and hyperlipidemia, as well as increased substance use and other risk-taking

 3   behaviors.   In short, the threat posed by the interruption to lifesaving care due to fear of

 4   discrimination or lack of affirmation is terrorizing for transgender clients, and leaves clinicians
 5
     helpless to assist patients in their plight. Identity documentation aligned with the true gender of
 6
     our transgender clients is also of tremendous concern. Not having access to this leaves our clients
 7
     open to discriminatory actions when accessing benefits and resources.
 8
            21. Our providers have been actively addressing the intense fear and outright
 9

10   discrimination inflicted upon our transgender clients, who are expressing increased suicidal

11   ideation and reporting more physical isolation that will lead to exacerbated depressive symptoms
12   and substance abuse.
13
            22. We have already heard about the impact the Executive Orders are having on our
14
     patients. They include the following:
15
                    a.      One patient expressed concern about the Executive Orders and what they
16

17          may mean for her access to affirming care. They fear these possibilities will be taken away,

18          causing her to revert to a body she does not feel comfortable in. Because she is an

19          undocumented person, she expressed fear of being sent back to her country of origin, where
20          she would receive no help to complete her gender transition.
21
                    b.      A non-binary individual has been undergoing gender-affirming therapy for
22
            years, but they are concerned that due to the Executive Orders, some insurers may stop
23
            covering gender-affirming care and procedures. They worry that their next visit to the
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25          doctor will be met with “we can’t help you anymore,” and the thought of having to go

26          through the grueling process of finding a new provider or even being denied care

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       indefinitely feels overwhelming, especially since they rely on their mental health support
 1

 2     to survive.

 3             c.      One of our Black transgender female clients expressed her knowledge of

 4     how this administration has deemed there to be only two genders - male and female - and
 5
       that she is grateful that all of her legal documentation already states “female”. However,
 6
       she still feels her care, her rights, and her very existence could be taken from her at any
 7
       moment, without warning. This has activated her PTSD, leaving her in a constant state of
 8
       anxiety and with increasingly severe depressive symptoms. At times she is unable to leave
 9

10     her home, deeply concerned about possible violence against her as a transgender individual.

11     She is deeply distraught after having fought so hard and survived to where she is today,
12     feeling now that all of her efforts may have been in vain.
13
               d.      A transgender male client is in the middle of a legal process to update his
14
       name and gender on his official documents, but the Executive Orders have made him fear
15
       that this process could become more complicated or even impossible. His mismatched IDs
16

17     have already caused problems at the Department of Motor Vehicles, and he is terrified that

18     the system will reject his request for an accurate ID.        Without correct, consistent

19     identification, he worries about being denied housing and health care and for his overall
20     safety in society.
21
               e.      A transgender woman was working at a tech company, but after being open
22
       about her gender identity, she was fired. Now she is struggling to find a new job, as she is
23
       concerned that her outdated ID documents do not match her gender identity and that this
24

25     will present a barrier to her being hired anywhere. Her anxiety about employment

26     discrimination keeps her from being able to make ends meet, and she is increasingly

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            anxious about losing access to health care, making it even harder for her to complete her
 1

 2          transition.

 3                  f.     A transgender woman is homeless and was in the process of changing her

 4          name and gender on her identification when the Executive Orders were announced.
 5
            Currently, her birth certificate, passport, and driver’s license all have different names or
 6
            gender markers on them. She recently enrolled in a job-skills training program but was
 7
            exited from the program because the staff overseeing this program were unable to “verify
 8
            her identity.” She is now extremely worried and anxious about achieving financial stability
 9

10          and access to more permanent housing.

11                  g.     A young transgender man receiving gender-affirming care had to move to
12          Beaumont, Texas, to support an ill family member, but was forced to return back to our
13
            care prematurely because he did not feel safe there, nor could he find a clinician to reliably
14
            provide his gender-affirming testosterone therapy.
15
                    h.     A transgender women unable to secure employment while going through
16

17          her transition was forced into survival sex work and became HIV-positive. This led her to

18          develop profound depression and use of fentanyl as a means of coping with her suffering.

19          She maintained that engaging with SFCHC’s case management and gender affirming care
20          was her only lifeline to survival.
21
            23. If the Executive Orders are allowed to stand, SFCHC will face the impossible choice
22
     of abandoning our mission to provide targeted, culturally competent care to marginalized
23
     communities, or forfeit the federal funding supporting many of our lifesaving services. We receive
24

25   significant funding through HRSA’s Ryan White HIV/AIDS Program, HRSA’s Bureau of Primary

26   Health Care, CDC, SAMHSA and other federal initiatives (like the Minority AIDS Initiative)

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     designed to address health disparities. Without these resources, we will be forced to reduce
 1

 2   services, shutter programs, and turn away clients who rely on us for essential care.

 3          24. For example, a young, unhoused transgender woman is receiving shelter and case

 4   management services at our emergency shelter as well as affirming health care and behavioral
 5
     health therapy. She insists she “would be dead” if it were not for the support and care received
 6
     from our clinic. She had been rejected by her family and was unable to secure a job while going
 7
     through her transition, which would have left her homeless and destitute if not for SFCHC. And
 8
     a homeless transgender client just moved into his own apartment in San Francisco and successfully
 9

10   gained employment with our support. With the threat of possibly losing services from us, he is

11   making plans to flee the country and seek asylum in another country due to fear that attacks from
12   the federal government could escalate with a possible result of placing transgender people in camps.
13
            25. The public health consequences of these cuts would be catastrophic, resulting in a
14
     resurgence of HIV transmission rates, which we have worked for decades to reduce. A higher
15
     burden of HIV prevalence in our communities increase risk of transmission for all Americans,
16

17   having profound public health implications for generations to come. Mental health crises,

18   exacerbated by the loss of affirming services, would also rise. Overdose deaths would rebound

19   because clients will be more and more isolated without dependable and reliable safe spaces. The
20   transgender community, already facing disproportionate rates of violence, homelessness, and
21
     health disparities, would be pushed further to the margins. Current suicidal ideation experienced
22
     by our transgender clients will lead to suicide attempts and death. Moreover, increased fear around
23
     transgender people accessing medical care will have a corrosive effect on broader public health by
24

25   limiting access to routine vaccinations and STI, reducing our herd immunity to common infections

26   and facilitating spread of STIs.

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28                                                   17
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             26. One of my colleagues at SFCHC recently told me “as a trans woman working in the
 1

 2   community to provide essential services, I’ve witnessed firsthand the profound impact that the

 3   recent executive orders have had on our community. Not only has it caused immense distress for

 4   our clients, but it has also created a palpable fear and anxiety among my colleagues. We are all
 5
     navigating these very scary times together, and the uncertainty is overwhelming. Many of our
 6
     clients rely on the programs and support we provide to improve their quality of life whether it’s
 7
     accessing gender affirming care, housing, or mental health support. The potential loss of these
 8
     programs would be devastating, as they are often a lifeline for those who are most vulnerable. The
 9

10   stress and uncertainty this situation have created are taking a serious toll on everyone.”

11           27. SFCHC stands committed to the principle that health care is a human right, and that
12   equitable, inclusive care is essential to achieving health justice. We urge the Court to enjoin the
13
     implementation of the Executive Orders, and prevent irreparable harm to our clients, our
14
     organization, and the broader community we serve.
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                  EXHIBIT A
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January 29, 2025



Dear Recipient:

This Centers for Disease Control and Prevention (CDC) award is funded in whole or in part with United
States Government funds.

To implement Executive Orders entitled Ending Radical and Wasteful Government DEI Programs and
Preferencing and Initial Rescissions of Harmful Executive Orders and Action, you must immediately
terminate, to the maximum extent, all programs, personnel, activities, or contracts promoting “diversity,
equity, and inclusion” (DEI) at every level and activity, regardless of your location or the citizenship of
employees or contractors, that are supported with funds from this award. Any vestige, remnant, or re-
named piece of any DEI programs funded by the U.S. government under this award are immediately,
completely, and permanently terminated.

No additional costs must be incurred that would be used to support any DEI programs, personnel, or
activities.

If you are a global recipient and have previously received this notification regarding DEI activities, please
follow those instructions accordingly.
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                  EXHIBIT B
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Dear Recipient:

This Centers for Disease Control and Prevention (CDC) award is funded in whole or in part with United
States Government funds.

To implement the Executive Order entitled Defending Women From Gender Ideology Extremism And
Restoring Biological Truth To The Federal Government (Defending Women From Gender Ideology
Extremism And Restoring Biological Truth To The Federal Government – The White House), and in
accordance with Office of Personnel Management’s Initial Guidance (Memorandum to Heads and Acting
Heads of Departments and Agencies: Initial Guidance Regarding President Trump’s Executive Order
Defending Women), you must immediately terminate, to the maximum extent, all programs, personnel,
activities, or contracts promoting or inculcating gender ideology at every level and activity, regardless of
your location or the citizenship of employees or contractors, that are supported with funds from this
award. Any vestige, remnant, or re-named piece of any gender ideology programs funded by the U.S.
government under this award are immediately, completely, and permanently terminated.

No additional costs must be incurred that would be used to support any gender ideology programs,
personnel, or activities.

Any questions should be directed to PRISM@cdc.gov
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                                AWARD ATTACHMENTS
ASIAN AND PACIFIC ISLANDER WELLNESS CENTER, INC.                       6 NU65PS923732-03-02
1. Terms and Conditions
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TERMS AND CONDITIONS OF AWARD

In compliance with the Temporary Restraining Order issued on January 31, 2025, in the United States
District Court in the District of Rhode Island, the purpose of this amendment is to rescind the
Termination Notice of Award issued January 31, 2025.

All the other terms and conditions issued with the original award remain in effect throughout the budget
period unless otherwise changed, in writing, by the Grants Management OfÏcer.
